Case 5:13-cr-50034-TLB   Document 152   Filed 02/07/14   Page 1 of 2 PageID #: 702



                   IN THE UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF ARKANSAS
                           FAYETTEVILLE DIVISION



 CRIMINAL NO. 13-50034-004                USA v. ROSESHELL HAMILTON

 COURT PERSONNEL:                         APPEARANCES:

 Judge: JIMM LARRY HENDREN                Govt. CLAY FOWLKES

 Clerk: GAIL GARNER                       Deft. PAUL SMITH

 Reporter: THERESA SAWYER


                          SENTENCING MINUTE SHEET


      On this date the above named defendant appeared in person and
 with counsel for sentencing and is sworn.

       (X)    Inquiry made that defendant is not under influence of
              alcohol or drugs and is able to comprehend proceedings.
       (X)   Inquiry made whether defendant is under the care of a
              physician or taking any medication and is able to
              comprehend proceedings.
       (X)    Inquiry made that defendant is satisfied with counsel.
       (X)    Court determined that defendant and counsel have had
              opportunity to read and discuss presentence investigation
              report.
       (X)   Presentence investigation report reviewed in open court.
       (X)    Government moves for downward departure pursuant to
              5K1.1 - granted and 4-level departure awarded.
       (X)    Court expresses final approval of plea agreement.
       (X)    Counsel for defendant afforded opportunity to speak on
              behalf of defendant.
       (X)    Defendant afforded opportunity to make statement and
              present information in mitigation of sentence.
       (X)    Attorney for government afforded opportunity to make
              statement to court.
       (X)    Court proceeded to impose sentence as follows:

             120 months imprisonment; 3 years supervised release;
             $20,000.00 fine - interest waived.
Case 5:13-cr-50034-TLB   Document 152   Filed 02/07/14   Page 2 of 2 PageID #: 703



 Criminal No. 13-50034-004

       (X)   Defendant ordered to comply with standard conditions
             of supervised release.
       (X)   Defendant ordered to comply with the following special
             conditions of supervised release:

             Submit person, residence, place of employment, and
             vehicle to a search conducted by the USPO upon request.

             Submit to inpatient/outpatient substance abuse
             testing/treatment at direction of USPO.

       (X)   Defendant ordered to pay total special assessment of
             $100.00, for Count 18, which shall be due immediately.
       (X)   Counts 1, 15, 16, 17, and the forfeiture allegation
             dismissed on motion by the government.
       (X)   Defendant advised of right to appeal sentence imposed.
       (X)   Defendant advised of right to apply for leave to appeal
             in forma pauperis.
       (X)   Defendant remanded to custody of USMS.




 DATE: FEBRUARY 7, 2014                   Proceeding began: 10:54 am

                                                         ended: 11:30 am
